




















NO. 07-09-00371-CR

&nbsp;

IN THE COURT OF APPEALS

&nbsp;

FOR THE
SEVENTH DISTRICT OF TEXAS

&nbsp;

AT
AMARILLO

&nbsp;

PANEL A

&nbsp;



JULY
27, 2010

&nbsp;



&nbsp;

JOSE ANGEL CORDOVA, APPELLANT

&nbsp;

v.

&nbsp;

THE STATE OF TEXAS, APPELLEE 



&nbsp;



&nbsp;

&nbsp;FROM THE 242ND DISTRICT COURT OF HALE
COUNTY;

&nbsp;

NO. B14880-0303; HONORABLE EDWARD LEE SELF, JUDGE



&nbsp;



&nbsp;

Before CAMPBELL
and HANCOCK and PIRTLE, JJ.

&nbsp;

ORDER

&nbsp;

Upon review of appellant’s petition
for discretionary review, we withdraw our opinion and judgment of April 19,
2010.&nbsp; See Tex. R. App. P. 50.&nbsp; We
do not withdraw our granting of original appellate counsel’s motion to
withdraw.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant’s
original appellate counsel, Peter I. Clarke, filed a brief complying with Anders
v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed. 2d 493 (1967), and a motion to
withdraw.&nbsp; Appellant was notified
of his right to file a pro se
response but did not file one.&nbsp; Based on
representations made in a later-filed motion in this Court, Clarke became ill
and another attorney was appointed for appellant for the limited purpose of
advising appellant of his right to file a pro
se petition for discretionary review.&nbsp;
In our April 19th opinion, we agreed with Clarke’s evaluation that the
record did not present any arguable grounds that would support an appeal and
affirmed the trial court’s judgment. &nbsp;See
Cordova v. State, No. 07-09-00371-CR, 2010 Tex.App.
LEXIS 2826, at *2-*3 (Tex.App.—Amarillo Apr. 19,
2010, pet. filed).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On
June 9, 2010, we granted a motion to substitute counsel filed by attorney James
B. Johnston indicating that appellant had retained Johnston’s services and that
interim appellate counsel had fulfilled his obligation to advise appellant of
his right to file a pro se petition
for discretionary review.&nbsp; Johnston
sought an extension of time in which to file a motion for rehearing.&nbsp; He did not, however, file a motion for
rehearing.&nbsp; Nor has Johnston moved to
withdraw as counsel in this Court.&nbsp;
Accordingly, he remains attorney of record in this appeal.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On
June 22, 2010, Johnston filed a petition for discretionary review on behalf of
appellant in which he presented a succinct argument that certain issues
concerning the interpretation and application of Article 42.12 of the Texas
Code of Criminal Procedure are arguable grounds for an appeal in this
case.&nbsp; See Tex. Code Crim. Proc. Ann. art. 42.12 (Vernon Supp. 2009).&nbsp; Having concluded that the issues raised in
the petition for discretionary review present an arguable basis for appeal, we
withdraw our opinion affirming the trial court’s judgment and direct Johnston
to file a brief on appellant’s behalf fully developing the issues raised in the
petition for discretionary review or other issues that would support an appeal,
if any.&nbsp; We reset the briefing schedule
to make appellant’s brief on the merits due thirty days from the date of this
order.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; It
is so ordered.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Per
Curiam

&nbsp;

Do not publish.&nbsp;&nbsp; 





